           Case: 18-30131, 10/11/2018, ID: 11042444, DktEntry: 15, Page 1 of 3
                                                                           FILED
                         UNITED STATES COURT OF APPEALS                     OCT 11 2018

                                                                        MOLLY C. DWYER, CLERK
                               FOR THE NINTH CIRCUIT                     U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                        No.   18-30131

                 Plaintiff-Appellee,              D.C. No.
                                                  3:13-cr-00097-SLG-1
 v.                                               District of Alaska,
                                                  Anchorage
 JASON JAYAVARMAN,

                 Defendant-Appellant.             ORDER


Before: Peter L. Shaw, Appellate Commissioner.

        The court has received and reviewed appellant Jason Jayavarman’s response

(Docket Entry No. 14) to the court’s order for further information regarding

Jayavarman’s request for leave to represent himself on appeal. A hearing is

appropriate to confirm that Jayavarman’s request for self-representation and waiver

of the right to counsel are knowing, intelligent, and unequivocal, to apprise

Jayavarman of the dangers and disadvantages of self-representation on appeal, and

to determine whether the court should exercise its discretion to allow Jayavarman

to represent himself. See Hendricks v. Zenon, 993 F.2d 664, 669 (9th Cir. 1993).




gml/Appellate Commissioner                                                       18-30131




         Case 3:13-cr-00097-SLG Document 311 Filed 10/11/18 Page 1 of 3
           Case: 18-30131, 10/11/2018, ID: 11042444, DktEntry: 15, Page 2 of 3



        Accordingly, on Tuesday, October 16, 2018, 1 pm Pacific Time, appellant

Jayavarman shall appear for a hearing by videoconference at FCI Terminal Island,

San Pedro, CA. The Appellate Commissioner will conduct the hearing by

videoconference at the United States Court of Appeals for the Ninth Circuit in San

Francisco.

        Assistant United States Attorney (“AUSA”) Andrea W. Hattan shall

participate by telephone, or shall notify the court in writing that the government

takes no position on Jayavarman’s request to represent himself. Appellant’s

retained counsel, Philip Paul Weidner, Esq., shall also appear by telephone.

Counsel shall inform the Appellate Commissioner’s office (415-355-8110 or by

email) of the telephone number at which she may be reached on the day of the

hearing.

        To participate in the telephonic conference, call 1-888-273-3658. At the

prompt, enter the access code 4470236 and the # key. You will be prompted to

enter the # key to join the conference as a participant.

        AUSA Hattan shall make the appropriate arrangements with the Federal

Bureau of Prisons to produce Jayavarman at the videoconference hearing.

        At any time, appellant Jayavarman may file a motion to withdraw his request

to represent himself by submitting a completed Form CJA 23 and requesting the

gml/Appellate Commissioner                 2                                     18-30131




         Case 3:13-cr-00097-SLG Document 311 Filed 10/11/18 Page 2 of 3
           Case: 18-30131, 10/11/2018, ID: 11042444, DktEntry: 15, Page 3 of 3



appointment of counsel to represent him on appeal at government expense, or by

retaining counsel, who shall enter a notice of appearance.

        The motion by appellant’s counsel, Philip Paul Weidner, Esq., to withdraw

as retained counsel shall be addressed in a later order. Briefing of the appeal

continues to be stayed pending further order.

        The Clerk shall serve this order and a Form CJA 23 on appellant

individually: Jason Jayavarman, BOP Reg. No. 17064-006, FCI Terminal Island,

Federal Correctional Institution, P.O. Box 3007, San Pedro, CA 90733.

        The Clerk also shall serve this order electronically on FCI Terminal Island

Case Manager T. Shiu and Executive Assistant Rosalind Tate.




gml/Appellate Commissioner                 3                                      18-30131




         Case 3:13-cr-00097-SLG Document 311 Filed 10/11/18 Page 3 of 3
